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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CREDITINCOME LIMITED, et ail.,
Plaintiffs,
Case No. 24-cv-4316 (DEH)
V.
THE SWISS CONFEDERATION,
Defendant.

DECLARATION OF ULYSSES VON SALIS

I, Ulysses von Salis, Niederer Kraft Frey AG, Bahnhofstrasse 53, 8001 Zurich,
Switzerland, declare as follows:

IL. Background and Qualifications

1. I studied law at the University of Zurich and graduated in 1996 with a doctorate
degree (Dr. iur.) summa cum laude.

2. I passed the bar exam in Switzerland in 1997.

3, I passed the California Bar Exam in 1999 and graduated with an LL.M. from
Harvard Law School in 2000.

4. I joined Niederer Kraft Frey AG as an associate in 2001.

5. I became a partner of Niederer Kraft Frey AG in 2006.

I. Scope of Engagement and Questions Presented

6. I have been engaged by the Swiss Confederation to address certain issues of Swiss
law related to the action captioned above (the “Action”).

7. My opinion has been requested on the following topics:
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a. Whether Switzerland is an adequate forum for the Action, including:
i. Whether litigation of the subject matter of the Action is permitted in Swiss
courts;
ii. | Whether Swiss courts have jurisdiction over claims against the Swiss
Confederation;
iii. | Whether plaintiffs in this Action would have access in Swiss courts to
adequate procedures for obtaining evidence; and
iv. Whether a judgment ofa U.S. court would be recognized under Swiss law;
b. What rules, regulations, or procedures under Swiss law and the Hague Evidence
Convention the parties would have to follow to obtain evidence located in
Switzerland for use in this Action; and
c. The relevance of pending litigation in Switzerland concerning the subject
matter of the Action.

Ill. Issues of Swiss Law
A. Switzerland is an adequate forum for the Action
i. Litigation of the subject matter of the Action is permitted in Swiss courts

8. Plaintiffs in this Action seek to hold the Swiss government monetarily liable for the
actions, undertaken in Switzerland, of the Swiss government with respect to Credit Suisse, a Swiss
bank. Furthermore, plaintiffs seek to challenge the actions of the Swiss government as allegedly
“unauthorized” under the terms and conditions governing the AT1 notes issued by Credit Suisse,
which are governed by Swiss law. The courts of Switzerland are the natural forum to adjudicate
a dispute against Swiss state actors regarding their actions in Switzerland and which raises matters
under Swiss law. Swiss courts are empowered to adjudicate litigation concerning the subject
matter of this Action—including the authority of the Swiss Federal Council, the Swiss National

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Bank, and the Swiss Financial Market Supervisory Authority (FINMA) and any alleged potential
liability of the Swiss Confederation in these circumstances.
ii. Swiss courts have jurisdiction over claims against the Swiss Confederation
9. Swiss law permits suits against the Swiss Confederation for damages. Swiss courts
have jurisdiction to hear such claims for damages filed against the Swiss Confederation. The Swiss
Confederation is not immune from such suits. Bundesgesetz tiber die Verantwortlichkeit des
Bundes sowie seiner Behérdemitglieder und Beamten (Verantwortlichkeitsgesetz, VG) [Federal
Act on the responsibility of the Confederation and its officials and civil servants, Responsibility
Act, RA], SR 170.32, art. 3 et seqq., art. 10 para. 1 und 2 in conjunction with art. 31 et seqq.
Bundesgesetz tiber das Bundesverwaltungsgericht (Verwaltungsgerichtsgesetz, VGG) [Federal
Act on the Federal Administrative Court, Administrative Court Act, ACA], SR 173.32, and with
art. 120 Bundesgesetz tiber das Bundesgericht (Bundesgerichtsgesetz, BGG) [Federal Act on the
Federal Supreme Court, Federal Supreme Court Act, FSCA], SR 173.110; Schweizerische
Zivilprozessordnung (ZPO) [Civil Procedure Code, CPC], SR 272, art. 5 para. 1.f. Decision of the
Federal Supreme Court BGer 2E_2/2024 of April 11, 2024 consid. 2.2.
iii. Plaintiffs would be entitled to adequate evidentiary procedures in Swiss courts
10. Alleged claims for damages against the Swiss Confederation which are disputed by
the Swiss Confederation can be submitted to an independent court. Art. 10 para. 1 und 2 RA in
conjunction with art. 31 et seqq. ACA and with art. 120 FSCA; art. 5 para. 1.f. CPC. Decision of
the Federal Supreme Court BGer 2E_2/2024 of April 11, 2024 consid. 2.2. Parties to Swiss
proceedings and third parties have a duty to cooperate in the taking of evidence, including a duty
to tell the truth as a party or witness and to produce non-privileged documents. Bundesgesetz iiber
das Verwaltungsverfahren (Verwaltungsverfahrensgesetz, VwVG) [Federal Act on Administrative

Procedure, APA], SR 172.021, art. 13 para. 1, art. 15, art. 17 (Switz.); Bundesgesetz iiber den

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Bundeszivilprozess [Federal Act on the Federal Civil Procedure, FCPA], SR 273, art. 43 et seqq.
(Switz.); art. 160 para. 1 CPC (Switz.).

11. | When assessing evidence, Swiss courts may take into account a party’s
unjustifiable refusal to comply with a court order enforcing the duty to cooperate. Art. 13 para. 2
APA, art. 40 FCPA, art. 164 CPC. Swiss courts may also summon witnesses to give testimony
under penalty of perjury. Art. 44 para. 2 and 3 and art. 45 para. 2 FCPA; art. 19 APA; art. 169
cum art. 171 para. 1, art. 167 CPC. Third parties who do not comply with a summons can be
compelled to appear and noncompliance can result in a disciplinary fine, a police summons, or
criminal prosecution for contempt of an official order. Art. 44 para. 2 and 3 FCPA; art. 19 and art.
60 APA; art. 167 CPC; Schweizerisches Strafgesetzbuch [StGB] [Criminal Code], SR 311, art.
292 (Switz.).

12. Plaintiffs in this Action, however, would not be able to compel individuals and
entities in Switzerland—outside of international legal assistance—to produce documents located
in Switzerland that are not available in the United States without risking violation of Swiss law,
cf. below under IJI.B. Arts. 271, 273 StGB.

iv. A judgment of a U.S. court may not be enforceable in Switzerland against the
Swiss Confederation

13. The United States and Switzerland do not have a treaty providing for reciprocal
recognition and enforcement of court judgments in civil matters.

14. The enforceability of a judgment of a U.S. court against a Swiss defendant,
therefore, would require approval of a Swiss court, which would need to evaluate (a) whether the
foreign court issuing the judgment had international jurisdiction, (b) whether the judgment is final
or no longer subject to any ordinary appeal, and (c) whether the judgment contravenes Swiss public

policy and the defendant was duly summoned. See Bundesgesetz iiber das Internationale
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Privatrecht (IPRG), [Federal Act on Private International Law, PILA], SR 291, art. 25 (Switz.).

15. Furthermore, the Federal Act on Private International Law (PILA), SR 291, art. 25
(Switz.), the Swiss statute governing the recognition and enforceability of foreign judgments,
applies only to claims under private law. As a matter of Swiss law, plaintiffs’ claims in this Action
are arguably properly characterized as public law claims challenging the exercise of governmental
authority. If plaintiffs’ claims are considered public law claims, PILA would not apply to them,
and consequently, there would be no legal basis under Swiss law for recognition and enforcement
of a foreign judgment resolving them.

B. Obtaining evidence located in Switzerland for use in this Action will present
significant challenges

16. Under Swiss law, the taking of evidence constitutes a judicial function reserved to
Swiss courts or authorities. Taking evidence in Switzerland for use in a foreign court proceeding
without authorization by the competent Swiss authorities constitutes the unauthorized and
unlawful exercise of foreign sovereign power, which is an offense under art. 271 para. 1 of the
Swiss Criminal Code. See Bundesgericht [BGer] [Federal Supreme Court], decision of Nov. 1,
2021, Entscheidungen des Schweizerischen Bundesgerichts [BGE] 148 IV 66 consid. 1.4 (Switz.).

17. Outside of international legal assistance and without authorization by the competent
Swiss authorities, a party seeking to compel a witness domiciled in Switzerland to travel to the
United States for deposition or trial under threat of sanctions for non-compliance would be in
violation of art. 271 para. 1 of the Swiss Criminal Code.

18. Similarly, litigants in foreign legal proceedings cannot compel individuals or
entities in Switzerland to produce documents from Switzerland that are not available in the foreign
forum without risking violation of art. 271 para. 1 of the Swiss Criminal Code. See BGer, decision

of Nov. 1, 2021, BGE 148 IV 66 consid. 1.4. The risk of prosecution under Swiss law applies not
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only to the party taking the evidence, but also to the third party involved in gathering such evidence
in Switzerland.

19. To comply with Swiss law, parties in foreign legal proceedings regarding civil
claims must take evidence in Switzerland in accordance with the Hague Convention of March 18,
1970 on the Taking of Evidence Abroad in Civil or Commercial Matters (“Hague Evidence
Convention”). Requests for evidence under the Hague Evidence Convention are subject to
Switzerland’s reservation to the Convention, which states:

“Re Article 23

6. In accordance with Article 23, Switzerland declares that Letters
of Request issued for the purpose of obtaining pre-trial discovery of
documents will not be executed if:

a) the request has no direct and necessary link with the proceedings
in question; or

b) a person is required to indicate what documents relating to the
case are or were in his/her possession or keeping or at his/her
disposal; or

c) a person is required to produce documents other than those
mentioned in the request for legal assistance, which are probably in
his/her possession or keeping or at his/her disposal; or

d) interests worthy of protection of the concerned persons are
endangered.”!

20. Discovery in Switzerland, therefore, is permissible only by virtue of the Hague
Evidence Convention and only within those enumerated limitations.

21. Furthermore, the Hague Evidence Convention applies only to disputes in civil or
commercial matters. Claims against the Swiss Confederation based on alleged government

liability could be considered as not being covered by the term “civil or commercial matters”

' Unofficial English translation by Hague Conference on Private International Law (HCCH).

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because the scope of that term, as applied to governmental defendants, has not been definitively
clarified. If such claims are not disputes in “civil or commercial matters,” then—from a Swiss law
perspective—there would be no legal basis for the granting of legal assistance at all. In addition,
art. 12 para. 1.b of the Hague Evidence Convention provides that the execution of a request for
mutual assistance may be refused to the extent that the requested state considers the execution to
be likely to jeopardize its sovereign rights or its security. Requests asking for governmental
records, communications and documents or testimony of government officials about their official
activities subject to official secrecy regulations could reasonably be considered to jeopardize the
sovereign rights of the Swiss Confederation and so refused. For these reasons, even if the parties
seek to obtain evidence for use in this Action pursuant to the procedures of the Hague Evidence
Convention, those procedures may not entitle them to evidence relevant to the disputed issues in
this Action, which principally concern the actions of the Swiss government.

22. Further, discovery in this Action will face an additional hurdle: The records of the
Swiss Confederation and its agencies and instrumentalities are kept in one of the four official
languages of Switzerland—French, German, Italian, or Romansh. Official documents are not
translated into English as a matter of course.

C. There is already litigation in Switzerland concerning the subject matter of
the Action

23. The decision by FINMA to order Credit Suisse to write down its AT1 instruments
in March 2023, see Compl. { 59, has already been challenged by (alleged) former holders of those
instruments.

24. Switzerland’s Federal Administrative Court has received at least 230 claims filed
by at least 2,500 (alleged) former Credit Suisse ATI instrument holders against FINMA,

challenging the legality of the FINMA write-down order. Press Release, Swiss Federal
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Administrative Court, Press Release Regarding Strike-off Decision B-2254/2023 of 15 May 2023
(May 23, 2023), https://www.bvger.ch/media-releases/1 7ef53e2-d002-4b4f-8457-
1£7d54953153/en/mm_b-2254-2023_en_web.pdf. Those claims allege that FINMA’s order to
Credit Suisse was unlawful.

25. | Whether the FINMA write-down order to Credit Suisse was lawful—the issue in
dispute in the pending litigation in the Federal Administrative Court—is an issue directly relevant
to the claims in this Action, which allege that the FINMA write-down order to Credit Suisse was
“unauthorized.” See Compl. § 63, 67. If the Federal Administrative Court concludes that the
FINMA write-down order was unlawful, it has the authority to set aside the order.

26. Credit Suisse AT] instrument holders who claim to have suffered a loss as a result
of an allegedly unlawful act by the Swiss government may also submit a request for compensation
to the government and, if such request is rejected, have their claim for compensation heard by
independent courts. The statute of limitations for such a claim for compensation is three years
from knowledge of the alleged damages, but in any event ten years from the date on which the
alleged harmful conduct took place or ceased. Art. 20 para. 1 RA, in conjunction with
Obligationenrecht [Code of Obligations], SR 220, art. 60 para. 1 (Switz.). That three year statute
of limitations is in contrast to the 30-day deadline to which plaintiffs apparently refer, which is a
deadline of Swiss administrative law that generally applies to actions seeking to overturn the
decision of a regulatory agency. See Compl. 4 68.

27. Because the disputed issues in the pending proceedings against FINMA in the
Federal Administrative Court are closely related to, and overlap with, the disputed issues in this
Action, Switzerland is the more suitable forum to decide the disputed issues in this Action in a

manner that avoids inconsistent rulings and judgments.
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2B RR

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct, and I understand that this document may be filed in an action or

proceeding in a court of law.

Executed at Bahnhofstrasse 53, 8001 Zurich, Switzerland, on December 4, 2024.

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Ulyssés/von Salis

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